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                             NOT FOR PUBLICATION                           FILED
                      UNITED STATES COURT OF APPEALS                       DEC 10 2019
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
                             FOR THE NINTH CIRCUIT

  GLEN ANDERSON,                                  No.    18-55710

                  Plaintiff-Appellant,            D.C. No.
                                                  5:16-cv-01915-JGB-SP
    v.

  CITY OF RIALTO, a municipal                     MEMORANDUM*
  corporation; et al.,

                  Defendants-Appellees.

                     Appeal from the United States District Court
                         for the Central District of California
                      Jesus G. Bernal, District Judge, Presiding

                       Argued and Submitted November 6, 2019
                                Pasadena, California

  Before: FARRIS, McKEOWN, and PARKER,** Circuit Judges.

         Glen Anderson appeals the district court’s grant of summary judgment in

  favor of defendants, the City of Rialto, Randy De Anda, and Ed Scott, for claims

  brought pursuant to 42 U.S.C. § 1983 and Cal. Lab. Code § 1102.5. The parties are



         *
               This disposition is not appropriate for publication and is not precedent
  except as provided by Ninth Circuit Rule 36-3.
         **
               The Honorable Barrington D. Parker, Jr., United States Circuit Judge
  for the U.S. Court of Appeals for the Second Circuit, sitting by designation.
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  familiar with the facts, so we do not repeat them here. We have jurisdiction under

  28 U.S.C. § 1291, and we affirm.

        We review de novo the district court’s grant of summary judgment. See Ah

  Quin v. Cty. of Kauai Dep't of Transp., 733 F.3d 267, 270 (9th Cir. 2013). The

  Ninth Circuit applies a five-step test to determine whether a public employee has

  an actionable First Amendment retaliation claim: “(1) whether the plaintiff spoke

  on a matter of public concern; (2) whether the plaintiff spoke as a private citizen or

  public employee; (3) whether the plaintiff's protected speech was a substantial or

  motivating factor in the adverse employment action; (4) whether the state had an

  adequate justification for treating the employee differently from other members of

  the general public; and (5) whether the state would have taken the adverse

  employment action even absent the protected speech.” Eng v. Cooley, 552 F.3d

  1062, 1070 (9th Cir. 2009).

        The plaintiff bears the burden of presenting evidence to satisfy the first three

  steps. Soranno's Gasco, Inc. v. Morgan, 874 F.2d 1310, 1314 (9th Cir. 1989). Once

  this burden is met, the government must present evidence that satisfies one of the

  two remaining steps. Ulrich v. City and County of San Francisco, 308 F.3d 968,

  976-77 (9th Cir. 2002). Under the fifth step, the government may avoid liability by

  showing, by a preponderance of evidence, that the employee's protected speech

  was not a but-for cause of the adverse employment action. Soranno's Gasco, 874



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  F.2d at 1315 (citing Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S.

  274, 285 (1977)).

        Taking Anderson’s version of the facts as true, the government meets its

  burden under step five. The district court did not err in granting summary judgment

  on both First Amendment retaliation claims under § 1983. Anderson’s claims

  against Scott are derivative of his claims against the City of Rialto and De Anda

  and thus fail for the same reason.

        The district court also did not err in granting summary judgment of the

  whistleblower retaliation claim because §1102.5 does not protect individuals who

  report a publicly known fact. Mize-Kurzman v. Marin Cmty. Coll. Dist., 202 Cal.

  App. 4th 832, 858 (2012). Anderson’s alleged disclosure concerned a conversation

  that occurred during a public, televised city council meeting.

        AFFIRMED.




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